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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR12-062-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   IVAN BERRELLEZA-VERDUZCO,            )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Heroin and Methamphetamine; Conspiracy to

15 Engage in Money Laundering

16 Date of Detention Hearing:     April 13, 2012.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably

20 assure the appearance of defendant as required and the safety of other persons and the

21 community.

22 / / /



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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02         1.      Defendant is reportedly a citizen of Mexico.

03         2.      The United States alleges that his presence in this country is illegal. There is an

04 immigration detainer pending against him. The issue of detention in this case is therefore

05 essentially moot, as the defendant would be released to immigration custody if not detained in

06 this case.

07         3.      Defendant and his counsel offer no opposition to entry of an order of detention.

08         4.      Upon advice of counsel, defendant declined to be interviewed by Pretrial

09 Services. Therefore, there is limited information available about him.

10         5.      There does not appear to be any condition or combination of conditions that will

11 reasonably assure the defendant’s appearance at future Court hearings while addressing the

12 danger to other persons or the community.

13 It is therefore ORDERED:

14      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

15         General for confinement in a correction facility separate, to the extent practicable, from

16         persons awaiting or serving sentences or being held in custody pending appeal;

17      2. Defendant shall be afforded reasonable opportunity for private consultation with

18         counsel;

19      3. On order of the United States or on request of an attorney for the Government, the

20         person in charge of the corrections facility in which defendant is confined shall deliver

21         the defendant to a United States Marshal for the purpose of an appearance in connection

22         with a court proceeding; and



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01     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 13th day of April, 2012.

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06                                                      A
                                                        Mary Alice Theiler
07                                                      United States Magistrate Judge

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